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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



                                                     Civ. A. No. 1:18-cv-01713
 IN RE AKORN, INC. DATA INTEGRITY
 SECURITIES LITIGATION                                Hon. Matthew F. Kennelly




DECLARATION OF ANDREW J. ENTWISTLE IN SUPPORT OF LEAD PLAINTIFFS’
   MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT, APPROVAL
        OF FORM OF CLASS NOTICE, AND A HEARING DATE FOR
                 FINAL APPROVAL OF SETTLEMENT

         I, Andrew J. Entwistle, hereby declare as follows pursuant to 28 U.S.C. § 1746:

       1.      I am a partner at the law firm of Entwistle & Cappucci LLP, counsel for lead

plaintiffs Gabelli & Co. Investment Advisors, Inc. and Gabelli Funds, LLC (“Lead Plaintiffs”). I

am admitted to practice before this Court.

       2.      I respectfully submit this declaration in support of Lead Plaintiffs’ Motion for

Preliminary Approval of Settlement, Approval of Form of Class Notice, and A Hearing Date for

Final Approval of Settlement.

       3.      Attached hereto as Exhibit 1 is a true and correct copy of the Stipulation and

Agreement of Settlement, dated August 9, 2019 (the “Stipulation”), and the following exhibits to

the Stipulation:

       Exhibit A:     [Proposed] Order Preliminarily Approving Settlement, Approving the Form
                      of Class Notice, and Setting a Hearing Date for Final Approval of
                      Settlement

       Exhibit A-1: Notice of (i) Pendency of Class Action and Proposed Settlement; (ii)
                    Settlement Fairness Hearing; and (iii) Motion for Award of Attorneys’ Fees
                    and Reimbursement of Litigation Expenses
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                       Appendix A: Proposed Plan of Allocation of Net Settlement Fund

       Exhibit A-2:    Proof of Claim and Release Form

       Exhibit A-3: Summary Notice of (i) Pendency of Class Action and Proposed Settlement;
                    (ii) Settlement Fairness Hearing; and (iii) Motion for Award of Attorneys'
                    Fees and Reimbursement of Litigation Expenses

       ExhibitB:       [Proposed] Order and Final Judgement Approving Class Action Settlement

       Exhibit C:      Contingent Value Rights Agreement

       4.      Attached hereto as Exhibit 2 is the Declaration of Robert Cappucci Concerning

Lead Plaintiffs' Bidding Procedures for Selection of Claims Administrator, dated August 9, 2019.

       5.      Attached hereto as Exhibit 3 is Lead Plaintiffs' Memorandum of Law in Support of

Lead Plaintiffs' Motion for Class Certification, dated July 5, 2019.

       6.      Attached hereto as Exhibit 4 is the Declaration ofLuiggy Segura Regarding Notice

and Claims Administration, dated August 9, 2019.



       I declare under penalty of perjury that the foregoing is true and correct.

                                              Executed this 9th day of August 2019




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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 9, 2019, I caused the foregoing declaration to be served on

all counsel of record via the Court’s ECF system.

                                                       /s/ Andrew J. Entwistle
                                                       Andrew J. Entwistle




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